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                IN THE UNITED STATE DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION
	  
ROBERT HOFFSTETTER,                     )
        PLAINTIFF,                      )       CIV. ACTION NO. ____________
                                        )
       V.                               )
                                        )       JURY TRIAL DEMANDED
IMAGE DESIGN STAIRS LLC,                )
        DEFENDANT.                      )

                                   COMPLAINT

       COMES NOW Plaintiff Robert Hoffstetter, by and through undersigned

counsel, and hereby files this complaint against Defendant Image Design Stairs

LLC, (“Image Design”) and shows the Court as follows:

1.     Mr. Hoffstetter brings this action against the Defendant for overtime

compensation, liquidated damages, attorney fees, interest, and any other relief

authorized under the Fair Labor Standards Act, as amended, 29 USC §201 et. seq.

(hereinafter “FLSA”) for losses suffered as a result of Defendant’s unlawful acts.

                          JURISDICTION AND VENUE

2.     The jurisdiction of this Court is invoked pursuant to 28 U.S.C. §1331, which

confers original jurisdiction upon the District Court “of all civil actions arising

under the constitution, laws, or treaties of the United States.” This action arises by

way of the FLSA, a federal statute.


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3.     Venue is proper in this Court pursuant to 28 U.S.C. §1391(b)(2) because the

acts, events and omissions which violated the FLSA occurred primarily in the

Northern District of Georgia.

4.     Image Design is an employer as defined by 29 U.S.C. §203(d).

5.     Image design is an enterprise engaged in commerce as defined by 29 U.S.C.

§203(s)(1)(A)(i) and (ii).

6.     Image Design may be served pursuant to Rule 4 of the Federal Rules of

Civil Procedure by delivering Summons and Complaint to its Registered Agent

Kevin Arthur at 5020 Riverhill Road, Marietta, Georgia 30068.

                                       PARTIES

7.     Image Design is a Georgia Corporation that serves the Southeastern United

States.

8.     Image Design is in the business of engineering, designing, building and

installing custom stairs, as well as stair parts and stair part installation.

9.     Image Design conducts over $500,000.00 of sales per year.

10.    Michael Murphy is the Vice President and Operations Manager at Image

Design.

11.    Kelly Fisher is the Office Manager at Image Design.




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12.     Plaintiff Robert Hoffstetter was employed at Image Design as a

Designer/Builder from March of 2009 through May of 2011.

13.     Mr. Hoffstetter is self-taught and has no formal architectural or engineering

education or university degree in his profession.

14.     Mr. Hoffstetter’s duties included designing and building staircases for job

sites in Georgia, Tennessee and the Southeastern United States.

15.     At no time did Mr. Hoffstetter have hiring/firing responsibility for any other

employees.

16.     Every week during the course of his employment he worked on goods or

projects that would one day move in interstate commerce.

        FACTS PERTAINING TO MARCH 16-JUNE 28, 2009 WAGES

17.     Mr. Hoffstetter began working for Image Design on or about March 16,

2009.

18.     Prior to his acceptance of the job Kevin Aurthur asked him how much he

was making at his previous employer.

19.     When Mr. Hoffstetter accepted the position at Image Design he was under

the impression that his pay would be $26.23 and he would get paid overtime at

time and a half pursuant to federal law.




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20.     After he started working for Image Design he was told he would only be

paid a salary of $1,000.00 per week with no overtime.

21.     Between March 16, 2009 and June 28, 2009 Image Design classified Mr.

Hoffstetter as exempt from the requirements of the FLSA and did not pay him any

overtime wage.

22.     Between March 16, 2009 and June 28, 2009 Mr. Hoffstetter worked a

minimum of 60 hours per week.

23.     Mr. Hoffstetter was denied any payment for approximately 260 hours of

overtime he worked between March 16, 2009 and June 28, 2009.

24.     Mr. Hoffstetter complained regarding his rate of pay and Image Design

subsequently determined it should change his rate of pay to $25.00 per hour.

       FACTS PERTAINING TO THE JUNE 29-AUGUST 23, 2009 WAGES

25.     In response to Mr. Hoffstetter’s complaints, Image Design changed its

classification of Mr. Hoffstetter from overtime exempt to hourly employee.

26.     Beginning on June 29, 2009 and ending on August 23, 2009 Image Design

paid Mr. Hoffstetter $25.00 per hour.

27.     During the period of June 29, 2009 and August 23, 2009 Image Design did

not pay Mr. Hoffstetter time and a half for overtime compensation.




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28.    Between June 29, 2009 and August 23, 2009 Mr. Hoffstetter worked

approximately 35 hours of overtime without appropriate overtime compensation.

29.    Mr. Hoffstetter continued to complain that he was supposed to be paid

$26.25 per hour plus overtime compensation at time and a half.

FACTS PERTAINING TO THE AUGUST 24, 2009- MAY 15, 2011 WAGES

30.    On August 24, 2009 Image Design raised Mr. Hoffstetter’s rate of pay to

$26.20 per hour.

31.    Beginning on August 24, 2009 and ending on April 3, 2011 Image Design

paid Mr. Hoffstetter $26.20 per hour.

32.    During the period of August 24, 2009 and April 3, 2011 Image Design did

not pay Mr. Hoffstetter time and a half for overtime compensation.

33.    Between August 24, 2009 and April 3, 2011 Mr. Hoffstetter worked

approximately 520 hours of unpaid overtime.

34.    Beginning on April 4, 2011 Image Design began to pay Mr. Hoffstetter

appropriate overtime wages of time and a half for any hours over forty per week.

35.    Image Design terminated Mr. Hoffstetter on or about May 13, 2011.

36.    At no time during the course of the events in this lawsuit did Image Design

have the appropriate poster to inform their employees of their rights pertaining to

the FLSA.


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37.    Over the course of his employment Mr. Hoffstetter had several brief

conversations with Mike Murphy regarding the failure to pay time and a half

overtime.

38.    Mr. Murphy never gave an answer for why overtime was not being paid

properly and sometimes he even laughed off the questions.

39.    Over the course of his employment Mr. Hoffstetter talked to the office

manager Kelly Fischer three or four times about the failure to pay overtime.

40.    Ms. Fischer agreed with Mr. Hoffstetter, but indicated the company could

not afford to pay the overtime properly.

41.    Once, Mr. Hoffstetter and other employees asked Mr. Murphy why the wage

and hour poster was not posted on the wall of the employer. The company had no

response and never put the proper poster on the wall to notify its employees of

their rights.

42.    Image Designs knew they were supposed to pay overtime and intentionally

failed to follow federal law.




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                 COUNT-1 IMAGE DESIGN VIOLATED THE
                     FAIR LABOR STANDARDS ACT

43.    Plaintiff reincorporates and adopts all allegations contained in paragraph one

through forty-two.

44.    Plaintiff was employed by the Defendant between March of 2009 through

May of 2011.

45.    Plaintiff was an employee engaged in commerce or in the production of

goods for commerce.

46.    Plaintiff was employed by an enterprise engaged in commerce or in the

production of goods for commerce.

47.    Image Design misclassified Mr. Hoffstetter as overtime exempt and wrongly

denied him overtime pay in violation of the FLSA.

48.    Image Design failed to pay Mr. Hoffstetter one and a half of his regular rate

of pay for time worked over forty hours per week.

49.    Image Design showed reckless disregard by classifying Mr. Hoffstetter as

exempt. Accordingly, Mr. Hoffstetter is entitled to recover lost wages going back

three years from the date the lawsuit was filed.

50.    Image Design showed reckless disregard by failing to pay Mr. Hoffstetter

time and a half overtime compensation. Accordingly, Mr. Hoffstetter is entitled to

recover lost wages going back three years from the date the lawsuit was filed.

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                              PRAYER FOR RELIEF

       WHEREFORE, Mr. Hoffstetter demands judgment against the Defendant

for payment of all overtime hours at one and a half of the regular rate of pay for

hours worked within three years of the date this lawsuit was filed, and also

liquidated damages, attorney fees, costs, interest, and all further relief the Court or

Jury determines to be just and appropriate.

                                  JURY DEMAND

Mr. Hoffstetter requests a Jury Trial for all issues appropriate for the jury.


                                        Respectfully Submitted,

                                        /s/ Thomas C. Wooldridge
                                        Thomas C. Wooldridge
                                        Ga. Bar. No. 384108
                                        Attorney For the Plaintiff

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